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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )               CASE NO. 8:11CR125
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                 MEMORANDUM
                                              )                  AND ORDER
JOSE ROSARIO LOPEZ-SANTIAGO,                  )
                                              )
              Defendant.                      )

       This matter is before the Court on the Motion Under 28 U.S.C. § 2255 to Vacate,

Set Aside, or Correct Sentence by a Person in Federal Custody filed by Defendant Jose

Rosario Lopez-Santiago. (Filing No. 139.) Rule 4(b) of the Rules Governing Section 2255

Proceedings for the United States District Courts requires initial review of a § 2255 motion,

and describes the initial review process as follows:

       The judge who receives the motion must promptly examine it. If it plainly
       appears from the motion, any attached exhibits, and the record of prior
       proceedings that the moving party is not entitled to relief, the judge must
       dismiss the motion and direct the clerk to notify the moving party. If the
       motion is not dismissed, the judge must order the United States attorney to
       file an answer, motion, or other response within a fixed time, or to take other
       action the judge may order.

Pursuant to Rule 4(b), the Court has conducted an initial review of the motion. For the

reasons stated below, it appears plainly from the face of the motion and the record that

Defendant is not entitled to relief with regard to Grounds I and II, and the motion will be

summarily dismissed as to these claims. The Court will order the government to file an

Answer to Ground III.
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                                     BACKGROUND

       On October 24, 2011, Defendant entered a plea of guilty before Magistrate Judge

Thomas D. Thalken to Count I of the Indictment, which charged Defendant with a violation

of 21 U.S.C. § 846, conspiracy to distribute and possess with intent to distribute 50 grams

or more of methamphetamine. (Filing No. 76.) An interpreter was present at the change

of plea hearing. Defendant was placed under oath, and thereafter stated the following: he

was satisfied with the representation of his attorney, Timothy Mikulicz; no one made any

threat or promise outside of the written plea agreement to get him to plead guilty; he

voluntarily was pleading guilty to Count I of the Indictment; he understood he was waiving

his right to appeal the conviction and sentence, as well as certain post-conviction rights;

he understood his conviction could affect his immigration status; he understood the

statutory penalties, including that on Count I he was subject to a ten-year (120-month)

mandatory minimum sentence and the maximum term of imprisonment was life; and he

understood that he could receive a sentence different than what he or his attorney believed

might be imposed. (Filing No. 94.) Defendant also signed a written plea agreement that

stated the following: Defendant agrees to plead guilty to Count I of the Indictment;

Defendant is exposed to imprisonment of a maximum of life and a mandatory minimum of

ten years; in exchange for Defendant’s plea of guilty, the government agrees to move to

dismiss Count II of the Indictment; and the plea agreement embodies the entire agreement

between the parties. (Filing No. 81.) Additionally, Defendant agreed not to make any

motion requesting a downward departure or reduction based on § 4A1.3 of the United

States Sentencing Guidelines or 18 U.S.C. § 3553. (Id.) Moreover, Defendant agreed to

waive his right to contest the conviction and sentence in any post-conviction proceeding,

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including those pursuant to 28 U.S.C. § 2255, except to challenge the conviction and

sentence should the Eighth Circuit Court of Appeals find that the charge to which he pled

guilty fails to state a crime, or to seek post-conviction relief based on ineffective assistance

of counsel or prosecutorial misconduct. (Id.)

       On November 30, 2011, the Court adopted Judge Thalken’s recommendation to

accept the plea and find Defendant guilty, accepted Defendant’s plea, and found

Defendant guilty. (Filing No. 98.) A presentence report was prepared that noted that the

relevant statutory sentencing provision for Count I mandated a ten-year minimum sentence

and a maximum of life, and calculated Defendant’s total offense level to be 31, criminal

history category to be I, and guideline sentencing range to be 120 to 135 months. (Filing

No. 116.) Defendant did not file an objection to the presentence report. On January 23,

2012, Defendant was sentenced to a 120-month term of imprisonment and a five-year term

of supervised release. (Filing No. 113.) An interpreter was present at the sentencing

hearing. Judgment was entered on January 23, 2012. (Filing No. 114.) Defendant did not

file an appeal with the Eighth Circuit Court of Appeals.

       Defendant filed the instant § 2255 motion on January 25, 2013. He raises three

grounds for relief.1 In Ground I, Defendant asserts that his counsel was ineffective for “not

advising [Defendant] of the true nature and all the consequences” of entering a plea of

guilty; in Ground II, Defendant asserts that his counsel was ineffective for “not advising

[Defendant] of the statutory minimum” in this case, and that he was told “he would receive



       1
        For clarity and to reduce redundancy, the numbering of claims herein differs somewhat
from Defendant’s numbering of his claims. The claims may be referred to by the parties as they
are numbered in this Memorandum and Order.

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a sentence of 87 months” imprisonment; and in Ground III, Defendant asserts that his

counsel was ineffective for “not filing a direct appeal.” (Filing No. 139 at 3-5.)

                                       DISCUSSION

       Defendant asserts claims of ineffective assistance of counsel. In order to establish

a claim of ineffective assistance of counsel, Defendant must satisfy both prongs of the test

articulated by the United States Supreme Court in Strickland v. Washington, 466 U.S. 668

(1984). The performance prong requires a showing that counsel performed outside the

wide range of reasonable professional assistance and made errors so serious that counsel

failed to function as the kind of counsel guaranteed by the Sixth Amendment. Id. at 687.

The prejudice prong requires a movant to demonstrate that seriously deficient performance

of counsel prejudiced the defense. Id.

       It is the law of this circuit that “a defendant who pleads guilty has no right to be

apprised of the sentencing options outside the statutory maximum and minimum

sentences.” United States v. Granados, 168 F.3d 343, 345 (8th Cir. 1999) (citing Thomas

v. United States, 27 F.3d 321, 326 (8th Cir. 1994)). Furthermore, reliance on an attorney’s

mistaken impression about the length of sentence “is insufficient to render a plea

involuntary as long as the court informed the defendant of his maximum possible

sentence.” Id. (citing Roberson v. United States, 901 F.2d 1475, 1478 (8th Cir. 1990)).

       With regard to filing a direct appeal, an attorney “who disregards specific instructions

from the defendant to file a notice of appeal acts in a manner that is professionally

unreasonable.” Parsons v. United States, 505 F.3d 797, 798 (8th Cir. 2007). Furthermore,

if a defendant did not clearly request or instruct his attorney to file a notice of appeal, the

Court must “determine whether counsel consulted with the defendant about an appeal and,

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if not, whether the failure to consult was unreasonable.” Id. The relief in such a case is

a belated appeal, and a “defendant is entitled to a new appeal without showing that his

appeal would likely have had merit.” Id.

Grounds I and II

       Defendant, in Ground I, generally states that his counsel failed to advise him of the

true nature and consequences of entering a plea of guilty; however, Defendant does not

further elaborate about counsel’s specific failures. Defendant, in Ground II, argues that he

was not advised regarding the statutory minimum sentence, and that he was told he would

receive a sentence of 87 months.

       In this case, the transcript of the change of plea hearing demonstrates that

Defendant was adequately advised by his attorney and the Court about the consequences

of pleading guilty. In particular, Defendant stated under oath that he understood the

penalties he faced and that he might receive a sentence that was different than what he

or his attorney anticipated. Defendant’s own sworn statements, and the record generally,

do not support his claim that his attorney promised him that he would receive a specific

sentence in exchange for his guilty plea. Rather, the record shows that Defendant

understood he faced a minimum of 120 months and a maximum of life imprisonment, and

that he had no guarantee with respect to his sentence. Therefore, Defendant cannot

satisfy either prong of the Strickland test with respect to these claims, and they will be

summarily dismissed.

Ground III

       In Ground III, Defendant argues that his attorney was ineffective for not filing a direct

appeal. This claim is generally stated, and it is not clear whether Defendant claims that

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he consulted with his attorney and told his attorney to file an appeal, or whether

Defendant’s counsel failed to consult with Defendant and such a failure was unreasonable.

Nevertheless, the record includes no information indicating whether an appeal was

discussed between Defendant and his attorney. Therefore, the government will be

required to answer this claim.

                                      CONCLUSION

       For the reasons discussed above, the Court finds that Defendant cannot prove

either prong of the Strickland test with respect to Grounds I and II. Accordingly, it plainly

appears from the record that Defendant is not entitled to relief, and therefore his motion

will be summarily dismissed with respect to those claims.

       The United States will be ordered to respond to Ground III by filing an Answer. In

addition to any other issues raised in the Answer, the United States shall address whether

Defendant’s claims are barred by procedural default, waiver, or untimeliness.

       Accordingly,

       IT IS ORDERED:

       1.     The Court has completed the initial review of Defendant Jose Rosario Lopez-

              Santiago’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct

              Sentence by a Person in Federal Custody (Filing No. 139);

       2.     Upon initial review, Grounds I and II are summarily dismissed; the Court

              finds summary dismissal of Ground III is not required;

       3.     On or before March 4, 2013, the government shall file an Answer to Ground

              III of Defendant’s § 2255 motion and support its Answer with a brief;

       4.     On or before April 8, 2013, Defendant may thereafter file a response; and

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     5.    The Clerk shall mail a copy of this Memorandum and Order to Defendant at

           his most recent address.

     DATED this 30th day of January, 2013.

                                             BY THE COURT:


                                             s/Laurie Smith Camp
                                             Chief United States District Judge




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